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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

   SONY MUSIC ENTERTAINMENT, et al.,

                          Plaintiffs,                  Case No. 1:18-cv-00950-LO-JFA

                  v.

   COX COMMUNICATIONS, INC, et al.,

                          Defendants.


                                        [PROPOSED] ORDER

         This matter is before the Court on the motion made by Defendants pursuant to Rule 62(b)

  for entry of an order approving the form and amount of the supersedeas bond. Upon consideration

  whereof, it is hereby

         ORDERED that the motion is GRANTED, the bond form and bond amount

  ($1,002,001,000) are approved, and the Court’s judgment (Dkt. No. 723) shall be stayed upon the

  filing of the duly executed bond. No execution shall issue on the Court’s judgment, nor shall

  proceedings be taken for enforcement, while any appeal or petition is pending before the United

  States Court of Appeals for the Fourth Circuit, and if necessary, while any petition for writ of

  certiorari is pending before the Supreme Court of the United States. The terms of this Order shall

  remain in effect until further order of the Court.


         ENTERED this _______ day of _________ 2021.


  Alexandria, Virginia                           ______________________________
                                                 Liam O’Grady
                                                 United States District Judge
